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		Welcome to the  Supreme Court of Georgia. 

		
		Our goal is to provide the bench, bar and general public with timely and accurate information about the Supreme Court and the administration of justice in Georgia.  
	
	
	
		
		
		

		
		 

		
		Justices' Biographies 

		
		Read about the Justices of the Supreme Court of Georgia. 
	
	
	
		
		
		

		
		 

		
		Oral Arguments
 

		
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		Opinions 

		
		Opinions are published an average of twice a month.  On Fridays at 2 p.m., we will provide on our website a list of  any opinions due to come out the following Monday. 
	
	
	
		
		
		

		
		 

		
		Court History
 

		
		Learn about the history of the Supreme Court of Georgia. 
	


	

		
		
				

					
				
					
						
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												Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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